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 5
     ANTONIO BENITEZ GONZALEZ
 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                          Case No.: 2:18-cr-128 JAM
12
                    Plaintiff,
13
     vs.                                                WAIVER OF PERSONAL APPEARANCE
14                                                      AND ORDER
15   ANTONIO BENITEZ GONZALEZ,

16                  Defendant.
17

18

19

20

21          Antonio Benitez Gonzalez, defendant in the above-entitled action, hereby waives his

22   right to be present in open court as provided in Rule 43 of the Federal Rules of Criminal
23
     Procedure for any status conference or motion hearing in this matter. The appearance waiver
24
     includes any appearance involving a continuance either before or after trial, including a hearing
25
     at which a trial date is selected. The waiver does not extend to arraignment, entry of plea,
26

27   change of plea, or any trial stage from impaneling a jury to verdict, nor does it apply to

28   WAIVER OF APPEARANCE
               Case 2:18-cr-00128-JAM Document 72 Filed 05/31/19 Page 2 of 2


 1   imposition of sentence.
 2
            The defendant requests that the Court proceed during every permitted absence as set out
 3
     in the preceding paragraph. Defendant agrees that his interests will be deemed represented at all
 4
     times by the presence of his attorney in the same manner as if he were personally present in
 5

 6   court. He further agrees that he will be present in court and ready for trial of the matter on any

 7   day or hour that the Court may fix in his absence.
 8
            Defendant acknowledges that he has been informed of his rights under the Speedy Trial
 9
     Act (Title 18, United States Code, Sections 3161-3174). Defendant expressly authorizes his
10
     attorney to set dates, including permissible delays and continuances pursuant to the Speedy Trial
11

12   Act, without the requirement of him being personally present.

13   DATED: May 30, 2019
                                                           By      /s/ Antonio Benitez Gonzalez
14
                                                                   ANTONIO BENITEZ GONZALEZ
15                                                                 Defendant

16

17
            I agree with and consent to Defendant Antonio Benitez Gonzalez’s waiver of personal
18
     appearance at future proceedings.
19

20
     DATED: May 30, 2019
21                                                         By      /s/ Todd D. Leras
                                                                   TODD D. LERAS
22                                                                 Attorney for Defendant
                                                                   ANTONIO BENITEZ GONZALEZ
23

24   IT IS SO ORDERED.

25   Dated: May 30, 2019
                                                           /s/ John A. Mendez_______________
26

27                                                         JOHN A. MENDEZ
                                                           UNITED STATES DISTRICT JUDGE
28   WAIVER OF APPEARANCE
